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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                §               CRIMINAL NO. 4:05-CR-00173
                                                   §
 BRIAN O’NEAL CLARK (12)                           §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on August 6, 2013, to determine whether Defendant violated his supervised

 release. Defendant was represented by Frank Henderson. The Government was represented by Andy

 Williams.

        On July 20, 2006, Defendant was sentenced by the Honorable Michael H. Schneider, United

 States District Judge, to a sentence of 60 months imprisonment, to be followed by a three year term

 of supervised release for the offense of Use, Carrying, or Possession of a Firearm During, in Relation

 to and in Furtherance of a Drug Trafficking Crime. Defendant began his term of supervision on

 October 4, 2012. On November 30, 2012, the case was transferred to the Honorable Marcia A.

 Crone, United States District Judge.

        On June 21, 2013, the U.S. Probation Officer filed a Petition for Warrant or Summons for

 Offender Under Supervision (the “Petition”) (Dkt. 923). The Petition asserts that Defendant violated

 the following conditions of supervision: (1) Defendant shall refrain from any unlawful use of a




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 controlled substance; (2) Defendant shall refrain from excessive use of alcohol and shall not

 purchase, possess, use, distribute, or administer any controlled substance or any paraphernalia related

 to any controlled substances, except as prescribed by a physician; (3) Defendant shall notify the

 probation officer at least ten days prior to any change in residence or employment; (4) Defendant

 shall participate in a program of testing and treatment for drug abuse, under the guidance and

 direction of the U.S. Probation Office, until such time as the defendant is released from the program

 by the probation officer; (5) Under the guidance and direction of the U.S. Probation Office,

 Defendant shall participate in any combination of psychiatric, psychological, or mental health

 treatment as deemed appropriate by the treatment provider.

        The Petition alleges that Defendant committed the following violations: (1) Defendant

 submitted a urine specimen that tested positive for marijuana on February 9, 2013. Defendant

 admitted verbally and in writing that he used marijuana on February 3, 2013, at a Super Bowl party;

 (2) On March 8, 2013, Defendant submitted a urine specimen which tested positive for marijuana.

 Alere Director of Toxicology, Pat Pizzo, reported said urine specimen was the result of new drug

 use. On June 6 and June 11, 2013, Defendant submitted urine specimens which tested positive for

 cocaine; (3) Defendant abandoned his job at Food Source, McKinney, TX, on or about May 17,

 2013, and failed to notify the probation officer of a change in employment. Defendant notified the

 probation officer on June 7, 2013; (4) Defendant failed to submit a urine specimen for testing as

 directed at Pillar Counseling, Plano, TX on June 18, 2013; and (5) Defendant failed to attend mental

 health counseling at Pillar Counseling, Plano, TX, as directed on March 18, March 28, April 18,

 April 22, May 3, May 31, and June 11, 2013.

        At the hearing, Defendant entered a plea of true to the alleged violations. Defendant waived

 his right to allocute before the district judge and his right to object to the report and recommendation
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     of this Court. The Court finds that Defendant has violated the terms of his supervised release and

     that his supervised release should be revoked.

                                         RECOMMENDATION

             Pursuant to the Sentencing Reform Act of 1984 and having considered the arguments

     presented at the August 6, 2013 hearing, the Court recommends that Defendant be committed to the

.    custody of the Bureau of Prisons to be imprisoned for a term of thirteen (13) months, with twenty-

     four (24) months supervised release to follow. The Court further recommends that Defendant’s term

     of imprisonment be carried out in the Bureau of Prisons facilities located in Seagoville, Texas, if

     eligible.

             SIGNED this 14th day of August, 2013.

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                                                      ____________________________________
                                                      DON D. BUSH
                                                      UNITED STATES MAGISTRATE JUDGE




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